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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES-GENERAL

Case No.: CV 18-7241-CAS (PLAx)                                                            Date: July 28, 2020

Title:    Kevin Risto, etc. v. Screen Actors Guild-Am.Federation of Television and Radio Artists, et al.


PRESENT: THE HONORABLE                 PAUL L. ABRAMS
                                       UNITED STATES MAGISTRATE JUDGE
         Christianna Howard                               N/A                                           N/A
          Deputy Clerk                            Court Reporter / Recorder                          Tape No.

ATTORNEYS PRESENT FOR PLAINTIFF:                                   ATTORNEYS PRESENT FOR DEFENDANT(S):
                NONE                                                               NONE

PROCEEDINGS: (IN CHAMBERS) Defendants’ Motion to Stay (ECF No. 63)

The Court has reviewed defendants’ Motion to Stay (“Motion” (ECF No. 63)) this Court’s July 8, 2020, Order
re plaintiff’s Motion to Compel (ECF No. 58), pending review by the District Judge of the objections filed by
defendants pursuant to Rule 72(a) of the Federal Rules of Civil Procedure. (ECF No. 59).

Defendants’ Motion (ECF No. 63) is granted. See C.D. Local Rule 72-2.2. The Court’s July 8, 2020, Order
shall be stayed with respect to defendants’ production of document(s) as ordered in ECF No. 58.



cc:      Counsel of Record




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